Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 1 of 13 PageID #: 15746




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 J.Y.C.C., et al.,                                     )
                                                       )
                 Plaintiffs,                           )
                                                       )
         v.                                            )   No. 4:15-CV-01704-RWS
                                                       )
                                                       )   (CONSOLIDATED)
 THE DOE RUN RESOURCES
 CORPORATION, et al.,                                  )
                                                       )
                 Defendants.                           )


                     JOINT PROPOSED CASE MANAGEMENT ORDER NO. 5

 I. AMENDED SCHEDULING PLAN

         As discussed by the parties at the status conference held on December 11, 2019, to permit

 Plaintiffs further time to secure notarized Plaintiff Fact Sheets and collect medical, education, and

 employment records for the Initial Trial Pool Plaintiffs, the parties hereby submit the below Joint

 Proposed Amended Scheduling Plan.

         A.      Plaintiffs’ Production of Plaintiff Fact Sheets

         Approximately two dozen Group A – F Plaintiffs have not provided fact sheets. No later

 than February 28, 2020, Plaintiffs shall produce verified and notarized fact sheets for all

 remaining Group A – F Plaintiffs. [Defendants’ Proposed Addition: Failure to do so by this

 deadline shall result in dismissal of these Plaintiffs with prejudice upon notice to the Court.]

         Defendants’ Comment: The process the Court established for selecting an initial trial

 pool was premised on the parties having completed Fact Sheets for Groups A-F Plaintiffs. See

 CMO-3 (“Plaintiffs have previously provided Plaintiff Facts Sheets (‘PFS’) for several of the

 consolidated cases.”). Yet, Plaintiffs have never actually produced Fact Sheets for some Plaintiffs

 in these Groups. Plaintiffs in Groups A – F have had years to produce complete Plaintiff Fact
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 2 of 13 PageID #: 15747




 Sheets consistent with this Court’s orders. Defendants are willing to agree to extend the deadline

 for the remaining Plaintiffs in Groups A- F to provide Fact Sheets. But should they continue to

 fail to comply and provide the very rudimentary facts about their claims by the above-referenced

 extended deadline, their cases should be dismissed with prejudice. See Federal Rule of Civil

 Procedure 41. Approximately 1,000 Plaintiffs in Groups A-F have submitted Plaintiff Fact Sheets

 notwithstanding the logistical issues Plaintiffs have experienced, yet these two dozen Plaintiffs

 have not. These Plaintiffs have had more than sufficient time to appear, and any continued failure

 should result in dismissal.

         Plaintiffs’ Comment: As the Court is aware, there are standard processes courts generally

 implement in MDL and mass tort proceedings concerning Plaintiff Fact Sheet deficiencies: (1)

 opposing counsel notifies counsel and the court of the deficiencies, and (2) the parties are given

 the opportunity to remedy the problem by way of a motion to dismiss or show cause order. Here,

 Defendants’ are attempting to circumvent these established methods and deprive certain plaintiffs

 due process by incorporating an automatic dismissal clause throughout the proposed CMO. Neither

 this Court nor Judge Perry has established a CMO addressing PFS management and a deficiency

 protocol. To date, Defendants have not sought the dismissal of any cases before Judge Perry for

 failure to provide fact sheets. Plaintiffs do not dispute the fact that each plaintiff has a responsibility

 and duty to provide a fact sheet and meaningfully prosecute their claims in this litigation.

 However, Defendants’ sweeping dismissal of cases for failure to produce a fact sheet ignores the

 gravity of the situation in La Oroya and corresponding logistical challenges that must be dealt with

 in La Oroya. Finally, it’s worth noting that approximately 1,000 PFS have been provided for

 Groups A-F and only 24 have yet to be exchanged




                                                     2
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 3 of 13 PageID #: 15748




        Plaintiffs have produced some, but not all, fact sheets for Group G Plaintiffs by the deadline

 set forth in Case Management Order No. 4. By no later than February 28, 2020, Plaintiffs shall

 produce all remaining verified and notarized fact sheets for all Group G Plaintiffs. [Defendants’

 Proposed Addition: Failure to do so by this deadline shall result in dismissal of these Plaintiffs

 with prejudice upon notice to the Court.]

        Defendants’ Comment: Plaintiffs have now repeatedly requested unrealistic deadlines

 over Defendants’ objections, only to then ask for them to be extended. For example, in July 2019,

 Plaintiffs initially proposed that Group G Fact Sheets could be completed by September 2019. See

 CMO 3. Four months later, however, considerable deficiencies remain. Defendants submit that

 there should be consequences for failing to comply with the deadlines Plaintiffs propose and

 represent they can satisfy. One of the core purposes of the Fact Sheet Process is to streamline the

 proceedings and make discovery more cost effective by identifying, and dismissing, Plaintiffs that

 do not have viable claims. Dismissal of these Plaintiffs’ clearly serves that purpose. Further, there

 is no need for motion practice or additional PFS “protocols.” If Plaintiffs are unable to comply,

 they can surely seek the Court’s leave for additional time.

        Plaintiffs’ Comment: Plaintiffs do not dispute that Defendants are entitled to this

 information. However, as stated above, Plaintiffs object to Defendants’ sweeping dismissal of

 claims for failure to produce a plaintiff fact sheet. Groups G, H, I, and J Plaintiffs are not subject

 to the initial trial pool and the Court has not entered an order addressing bellwether selection for

 these cases. Rather, the parties should be engaged in in a streamlined, cost-effective discovery

 process to the maximum extent possible in light of the difficult challenges Plaintiffs are facing in

 La Oroya.




                                                   3
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 4 of 13 PageID #: 15749




        Plaintiffs have produced some, but not all, fact sheets for Group H Plaintiffs by the deadline

 set forth in Case Management Order No. 4. No later than February 28, 2020, Plaintiffs shall

 produce all remaining verified and notarized fact sheets for all Group H Plaintiffs. [Defendants’

 Proposed Addition: Failure to do so by this deadline shall result in dismissal of these Plaintiffs

 with prejudice upon notice to the Court.]

        No later than March 16, 2020, Plaintiffs shall produce verified and notarized fact sheets

 for all Group I Plaintiffs. [Defendants’ Proposed Addition: Failure to do so by this deadline

 shall result in dismissal of these Plaintiffs with prejudice upon notice to the Court.]

        No later than May 5, 2020, Plaintiffs shall produce verified and notarized fact sheets for

 all Group J Plaintiffs. [Defendants’ Proposed Addition: Failure to do so by this deadline shall

 result in dismissal of these Plaintiffs with prejudice upon notice to the Court.]

        No later than June 21, 2020, Plaintiffs shall produce verified and notarized fact sheets for

 all Group K Plaintiffs. [Defendants’ Proposed Addition: Failure to do so by this deadline shall

 result in dismissal of these Plaintiffs with prejudice upon notice to the Court.]

        B.      Medical, Education, and Employment Records of the Initial Trial Pool
                Plaintiffs

        Plaintiffs have produced some, but not all, medical, education, and employment records

 for the 120 Plaintiffs in the Initial Trial Pool. There are some Plaintiffs for which no records have

 been produced and other Plaintiffs for which incomplete records have been produced. Moreover,

 Plaintiffs have not produced any no record certifications for providers Plaintiffs identified but who

 do not have any records to produce. Accordingly, by no later than February 10, 2020, Plaintiffs

 shall complete their production of medical, education, and employment records for the 120 Initial

 Trial Pool Plaintiffs. Plaintiffs shall make good faith efforts to produce records, to the extent they

 are available, on a rolling basis as they are collected. In the event that medical, education, and/or



                                                   4
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 5 of 13 PageID #: 15750




 employment records do not exist for a certain Plaintiff, Plaintiffs shall provide a certification

 confirming as such in the form agreed to by the parties. Initial Trial Pool Plaintiffs that do not

 make complete records productions or produce no-records certifications by this deadline shall be

 dismissed without prejudice upon notice to the Court.

         Plaintiffs will continue using the authorizations approved by the Court on August 8, 2019

 [Doc. 352] for all future medical and educational record requests. All new records obtained

 through the Court-ordered authorizations shall be produced with a load file that includes facility

 information and indicate whether the record was obtained by using the Reid authorization or the

 authorization ordered by the Court on August 8.

         Medical, education, and employment records for non-trial-pool Plaintiffs need not be

 produced until further order of the court. A schedule for the production of records for non-initial

 trial pool Plaintiffs will be established by the Court at a later date.

         C.      Selection of the Initial Discovery Cohort

         Twenty-eight of the 120 initial trial pool Plaintiffs will be included in the initial discovery

 cohort; Plaintiffs shall choose 14 and Defendants shall choose 14. Plaintiffs have already made

 their 14 Initial Discovery Cohort Selections. Defendants must notify the Court and opposing

 counsel of their selected Plaintiffs by April 20, 2020. Those Plaintiffs must answer interrogatories

 and produce documents by May 25, 2020.

         Plaintiffs will produce neuropsychology and pediatric expert findings for the 14 Initial

 Discovery Cohort Plaintiffs selected by Plaintiffs by April 20, 2020. Plaintiffs will produce

 neuropsychology and pediatric expert findings for the 14 Initial Discovery Cohort Plaintiffs

 selected by Defendants by June, 19, 2020. Depositions of Initial Discovery Cohort Plaintiffs,

 family members, and caregivers will begin June 22 2020. The process regarding depositions of




                                                    5
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 6 of 13 PageID #: 15751




 Non-Discovery Cohort Plaintiffs will be established by the Court at a later date. Fact discovery for

 the Initial Discovery Cohort Plaintiffs ends November 20, 2020.

          D. Selection of the Initial Expert Discovery Cohort

          The parties agree that two weeks after the completion of fact discovery, the parties will

 narrow the pool of Initial Discovery Cohort Plaintiffs down to 16 for expert discovery (the “Initial

 Expert Discovery Cohort”). Plaintiffs shall choose eight and Defendants shall choose eight.

          Plaintiffs must notify the Court and opposing counsel of their selections by no later than

 December 4, 2020, two weeks upon conclusion of discovery with respect to the Initial Discovery

 Cohort. Defendants must notify the Court and opposing counsel of their selections by no later than

 December 18, 2020.

      II.    OTHER PRE-TRIAL DEADLINES

  Event                               Deadline
  Referral to Alternative Dispute     30 days after rulings on
  Resolution                          dispositive and   Daubert
                                      motions.
  Completion of ADR                   90 days after ADR referral
                                      deadline.
  Plaintiffs’ deadline to designate   January 22, 2021
  all merits experts and provide
  opposing counsel and any pro
  se parties with all information
  specified in Fed. R. Civ. P.
  26(a)(2)
  The parties shall meet and          January 29, 2021
  confer to set a schedule by
  which these expert depositions
  shall be conducted.




                                                  6
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 7 of 13 PageID #: 15752




  Event                                Deadline
  If the parties are unable to reach   January 29, 2021
  an agreement, they shall notify
  the Court in writing, and report
  the nature of the dispute. The
  report must include the names
  of each expert and the
  exclusionary dates, so the Court
  may set a final schedule at the
  conference.
  Plaintiffs shall make their          February 5, 2021
  expert witnesses available for
  deposition
  Depositions of Plaintiffs’ expert    April 9, 2021
  witnesses will be completed.
  Defendants shall notify              April 16, 2021
  Plaintiffs of the identity of the
  Rule 35 examiners and the
  scope of the examinations.
  Any objections to the scope of       April 26, 2021
  the examinations shall be made
  to the Defendants.
  If the parties are unable to reach   April 30, 2021
  an agreement as to the scope of
  the Rule 35 examinations, they
  shall notify the Court in writing,
  and report the nature of the
  dispute.
  Plaintiffs shall make Expert         May 10, 2021
  Discovery Cohort Plaintiffs
  available for IMEs
  IMEs of Expert Discovery             July 23, 2021
  Cohort Plaintiffs will be
  completed
  Defendants’ deadline to              September 10, 2021
  designate all merits experts
  and provide opposing counsel
  and any pro se parties with all
  information specified in
  Fed. R. Civ. P. 26(a)(2)
  The parties shall meet and           September 17, 2021
  confer to set a schedule by
  which these expert depositions
  shall be conducted.



                                                   7
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 8 of 13 PageID #: 15753




  Event                               Deadline
  If the parties are unable to        September 17, 2021
  reach an agreement, they shall
  notify the Court in writing, and
  report the nature of the dispute.
  The report must include the
  names of each expert and the
  exclusionary dates, so the
  Court may set a final schedule
  at the conference.
  Defendants shall make their         September 27, 2021
  expert witnesses available for
  depositions
  Depositions of Defendants’          December 13, 2021
  expert witnesses will be
  completed.
  Plaintiffs’ deadline to             December 22, 2021
  designate all rebuttal expert
  witnesses and provide their
  reports
  The parties shall meet and          January 7, 2022
  confer to set a schedule by
  which these expert depositions
  shall be conducted.
  If the parties are unable to        January 7, 2022
  reach an agreement, they shall
  notify the Court in writing, and
  report the nature of the dispute.
  The report must include the
  names of each expert and any
  exclusionary dates, so the
  Court may set a final schedule
  at the conference.
  Plaintiffs shall make any           January 17, 2022
  rebuttal expert witnesses
  available for depositions.
  Deadline to complete                February 16, 2022
  depositions of Plaintiffs’
  rebuttal experts
  Close of expert discovery           February 16, 2022
  Deadline to file dispositive        March 18, 2022
  motions
  Deadline to file Motions to         March 18, 2022
  Limit or Exclude Expert
  Testimony


                                                 8
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 9 of 13 PageID #: 15754




  Event                                Deadline
  Deadline to file responses to        April 15, 2022
  any dispositive motions
  Deadline to file responses to        April 15, 2022
  Motions to Limit or Exclude
  Expert Testimony
  Deadline to file replies in          May 13, 2022
  support of any dispositive
  motions
  Deadline to file replies in          May 13, 2022
  further support of Motions to
  Limit or Exclude Expert
  Testimony

     III.    TRIAL DEADLINES

          Pre-trial and trial-related deadlines will be set by further order of the Court after completion

 of briefing on dispositive and other pre-trial motions.

     IV.     QUARTERLY STATUS CONFERENCES

          The Court shall hold quarterly status conferences. Unless otherwise ordered above, one

 week before each conference, counsel shall file a joint status report informing the Court of any

 matters that should be discussed at the conference. Conferences will be held:

             -   February 12, 2020
             -   May 15, 2020
             -   August 14, 2020

          Additional dates will be set by the Court at a later date.




                                                           ____________________________________
                                                           RODNEY W. SIPPEL
                                                           UNITED STATES DISTRICT JUDGE

 Dated this ___ of __________, 2020.




                                                     9
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 10 of 13 PageID #: 15755




                                        10
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 11 of 13 PageID #: 15756




                                             Respectfully submitted,

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                                        11
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 12 of 13 PageID #: 15757




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                                        12
Case: 4:15-cv-01704-RWS Doc. #: 371 Filed: 01/17/20 Page: 13 of 13 PageID #: 15758




                                CERTIFICATE OF SERVICE


        The undersigned certifies that on January 17, 2020, the foregoing was electronically filed

 with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 upon counsel of record.


 Dated: January 17, 2020

                                                     /s/ Patrick J. Lanciotti
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